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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                   Case No.l!   V8 ~ c... t2.. - \ O~
 vs.                                                                                "
                                                   Judge Timothy S. Black


         Defendant.

                WAIVER OF IN-PERSON APPEARANCE
       AND NOTICE OF CONSENT TO VIDEO OR TELECONFERENCE

        I,   S~-\~        Wq(\l                        , am the defendant in the above-
captioned criminal case, and I am advised that my case will be scheduled for a
C~~          D~       \0\..o~     hearing before the Court. I acknowledge and understand
that I have a right to appear at the hearing in person and in the physical presence of my
attorney.
        Having thoroughly consulted with my attorney, I hereby waive my right to appear
at the hearing in person and I further consent to proceed with the hearing by video or
teleconference. I understand that my attorney will also appear at the hearing by video or
teleconference and that my attorney will therefore not be in my physical presence during
the hearing. I understand that I will have the opportunity to consult with my attorney
privately by telephone before, during, and/or after the hearing, if! so choose and upon
my request. If! wish to consult with my attorney privately during the hearing, I
understand that I will need to make my request known to the Court at that time and that
all reasonable efforts will be made to honor my request. I further understand that, during
the video or teleconference hearing, I have the right to address the Court and to otherwise
participate, as ifI had appeared in person.
        I acknowledge and understand that all reasonable efforts have been and will be
made to ensure that no technological issues arise during the course of the video or
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teleconference hearing. However, in the event that any such issues should occur, I
understand that the Court will in no way hold those issues against me and will
immediately undertake efforts to adequately resolve the issue or, if the issue cannot be
adequately resolved and/or is causing interference with the proceedings, the Court will
reschedule the hearing. Accordingly, I waive any objections I may have based upon any
such technological issues.
        I understand that by signing this document, I am waiving my right to appear for
hearing before the Court in person and consenting to proceed by video or teleconference,
as fully set forth above. I affmn that I have thoroughly discussed this decision with my
attorney, that I am fully satisfied with my attorney's advice and representation in that
regard, that I have read this document in its entirety, and that I am executing this
document voluntarily and with a full understanding of the rights and privileges that I
hereby waive.



                                                                 Defendant
                                          Print:   s'f..\\{   t()£.U\T




Date:     ~O\J \~, 7JJ)w
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